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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA




    RICHARD LEVINE,                     CV 21-4298 DSF (AGRx)
        Plaintiff,
                                        JUDGMENT
                    v.

    BANTER MEDIA GROUP, LLC,
        Defendant.



       The Court having granted a motion for entry of default judgment,

       IT IS ORDERED AND ADJUDGED that Defendant Banter Media
    Group pay to Plaintiff Richard Levine $1,000 in damages and $519 in
    reasonable costs, along with post-judgment interest under 28 U.S.C. §
    1961.



    Date: November 8, 2021             ___________________________
                                       Dale S. Fischer
                                       United States District Judge
